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Filed 07/21/2008 Page 1 Of 1

United States District Court, Northern District of Illinois

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CASE NUMBER 03 CR 512-l DATE 7/21/08
CASE USA V ABI‘OH Smilh
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third party oustodians.

 

See attached order for details.

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Pursuant to the oral motion of tho Dof`endant and the Govei‘nnient having no objection, the Defondant has
permission to leave the Northom District of Illinois on 7/23/08 and returning on 7/28/08, to attend a family
reunion in Tonnossoo. Mr. Srnitl'l will be accompanied by his parents on this trip and they will continue as

 

 

 

 

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Page l of l

